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USCA11 Case: 15-12032

IN THE UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

 

CASE NO.: 15-12032

 

UNITED STATES OF AMERICA,
Plaintiff/Appellee,
V.

JONATHAN TYLER PRIVE,
Defendant/Appellant

 

APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF FLORIDA

 

APPELLANT’S APPENDIX ON APPEAL

 

DANIEL N. BRODERSEN, ESQ.
533 N. MAGNOLIA AVENUE
ORLANDO, FLORIDA 32801
TELEPHONE: (407) 649-0007
FACSIMILE: (407) 649-0017
EMAIL: _ brodersend@gmail.com
CJA COUNSEL FOR APPELLANT
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United States of America v. Jonathan Tyler Prive

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U.S. District Court

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APPEAL, CLOSED

Middle District of Florida (Orlando)
CRIMINAL DOCKET FOR CASE #: 6:14-cr-00033-JA-KRS-1

Case title: USA v. Prive

Date Filed: 02/19/2014
Date Terminated: 04/22/2015

 

Assigned to: Judge John Antoon Il
Referred to: Magistrate Judge Karla R. Spaulding

Appeals court case number: 15-12032 USCA

Defendant (1)

Jonathan Tyler Prive

# 60386-018

Brevard County Jail Complex
860 Camp Rd.

Cocoa, FL 32927
TERMINATED: 04/22/2015

Pending Counts

18:2422.F COERCION OR ENTICEMENT OF MINOR
(using a facility and means of interstate commerce, did
persuade, induce, entice and coerce a minor to engage in
sexual activity)

(2)

represented by

Daniel Newton Brodersen
Brodersen Law Firm

533 N Magnolia Ave

Orlando, FL 32801
407-649-0007

Fax: 407-649-0017

Email: brodersend@gmail.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Jose Rodriguez

Jose Rodriguez, PA

1434 E Michigan St

Orlando, FL 32806
407/898-8686

Fax: 407/898-8626

Email: jr@joserodriguezlaw.com
TERMINATED: 11/03/2014
Designation: CJA Appointment

Patrick Michael Megaro
Halscott Megaro P.A.

33 E Robinson St Ste 210
Orlando, FL 32801
407-255-2165

Fax: 855-224-1671

Email: KC2QBN@yahoo.com
TERMINATED: 02/18/2015
Designation: CJA Appointment

Disposition

Imprisonment: 365 months; Deft. is remanded to the
custody of the U.S. Marshal. Supervised release: Life;
Mandatory drug testing requirements are waived. Special
conditions of supervised release: Deft. shall be prohibited
from incurring new credit charges, opening additional
lines of credit, etc. and provide probation officer access to
any requested financial information. Sex offender
conditions: Participate in a sexual offender mental health
treatment program; No contact with minor children;
Media and computer restrictions imposed; Register with
all sex offender registries as required by law; Submit to a
search of your person, residence, place of business, etc.;
Cooperate in the collection of DNA. Fine: Waived;
Special assessment: $100.00.

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Highest Offense Level (Opening)
Felony

Terminated Counts Disposition

18:2422. F COERCION OR ENTICEMENT OF MINOR

(using a facility and means of interstate commerce, did

persuade, induce, entice and coerce a minor to engage in Dismissed
sexual activity)

(1)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

aT
- Highest Offense Level (Terminated)
° Felony
aT y
> Complaints Disposition
oO None
LO
mT
oO Plaintiff
N
oO USA represented by Andrew C. Searle
x US Attorney's Office - FLM
Ss Suite 3100
1s 400 W Washington St
3 Orlando, FL 32801
= 407/648-7500
LL oa, :
© Email: andrew.searle@usdoj.gov
5 LEAD ATTORNEY
QO ATTORNEY TO BE NOTICED
Designation: Retained
LO
N Date Filed # Docket Text
wu
5 02/19/2014 1 EINDICTMENT returned in open court as to Jonathan Tyler Prive (1) Counts 1-2. (GJS) (Entered: 02/20/2014)
E 02/20/2014 3. NOTICE of estimated length of trial by USA. Estimated trial length: Three days days. (Searle, Andrew) (Entered:
8 02/20/2014)
QO 02/20/2014 4 CERTIFICATE of interested persons and corporate disclosure statement by USA (Searle, Andrew) (Entered: 02/20/2014)
Q 02/20/2014 3, NOTICE OF ATTORNEY APPEARANCE Andrew C. Searle appearing for USA. (Searle, Andrew) (Entered: 02/20/2014)
8 02/20/2014 6 NOTICE of possible conflict of interest by USA as to Jonathan Tyler Prive A possible conflict of interest does exist.
N (Searle, Andrew) (Entered: 02/20/2014)
LO 02/20/2014 7 | NOTICE of pendency of related cases re order of compliance to Local Rule as to Jonathan Tyler Prive by USA. Related
~ case(s): yes (Searle, Andrew) (Entered: 02/20/2014)
oO
02/21/2014 8 | MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Jonathan Tyler Prive. (Attachments: # | Text of
q) Proposed Order)(Searle, Andrew) Motions referred to Magistrate Judge Karla R. Spaulding. (Entered: 02/21/2014)
_ 02/21/2014 9 | ORDER granting 8 Motion for Writ of Habeas Corpus ad prosequendum. WRIT ISSUED as to Jonathan Tyler Prive (1).
<x Initial Appearance set for 3/14/2014 at 10:30 AM in Orlando Courtroom 5 D before Magistrate Judge Karla R. Spaulding.
B Signed by Magistrate Judge Karla R. Spaulding on 2/21/2014. (copies provided) (ECJ) (Entered: 02/21/2014)
> 02/27/2014 IQ | NOTICE of Similar Case by USA as to Jonathan Tyler Prive (Searle, Andrew) (Entered: 02/27/2014)
02/27/2014 il | MOTION to transfer case to Judge Antoon (related to 6:13-cr-280-Orl-28DAB) by USA as to Jonathan Tyler Prive. (Searle,
Andrew) Modified on 2/28/2014 (MAA). (Entered: 02/27/2014)
03/05/2014 12 . ORDER granting |] Motion to Transfer case as to Jonathan Tyler Prive (1). Pursuant to Local Rule 1.04(b), this case is
hereby TRANSFERRED to United States District Judge John Antoon I, Orlando Division, for all further proceedings. The
Clerk is hereby directed to transfer this case to District Judge John Antoon II, Orlando Division. Signed by Judge Charlene
Edwards Honeywell on 3/5/2014. (BGS) (Entered: 03/05/2014)
03/06/2014 13 | Case as to Jonathan Tyler Prive Reassigned to Judge John Antoon II, New case number: 6:1] 4-cr-33-Orl-28K RS. Judge
Charlene Edwards Honeywell no longer assigned to the case. (MAA) (Entered: 03/06/2014)

 

 

 

 

 

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03/10/2014 14 | ARREST Warrant Returned Executed on 3/7/14 as to Jonathan Tyler Prive. (RDO) (Entered: 03/10/2014)

03/14/2014 Arrest of Jonathan Tyler Prive on 3/14/2014, (ECJ) (Entered: 03/14/2014)

03/14/2014 15 | Minute Entry for proceedings held before Magistrate Judge Karla R. Spaulding: Initial Appearance as to Jonathan Tyler
Prive held on 3/14/2014, ARRAIGNMENT as to Jonathan Tyler Prive (1) Count 1-2 held on 3/14/2014 Defendant, pled not
guilty. (DIGITAL) (ECJ) (Entered: 03/14/2014)

03/14/2014 16 | ***CJA 23 Financial Affidavit by Jonathan Tyler Prive. (ECJ) (Entered: 03/14/2014)

03/14/2014 17 | NOTICE OF ATTORNEY APPEARANCE: Jose Rodriguez appearing for Jonathan Tyler Prive. (ECJ) (Entered:
03/14/2014)

+ 03/14/2014 18 | SCHEDULING ORDER as to Jonathan Tyler Prive. Status Conference set for 4/17/2014 at 09:15 AM in Orlando
Courtroom 6 B before Judge John Antoon II, Jury Trial set for 5/5/2014 at 09:00 AM in Orlando Courtroom 6 B before

5 Judge John Antoon Il. Signed by Magistrate Judge Karla R. Spaulding on 3/14/2014. (copies provided)\(ECJ) (Entered:

Lo 03/14/2014)

o 03/14/2014 19 | ORDER OF DETENTION PENDING TRIAL as to Jonathan Tyler Prive. Defendant is not eligible due to outstanding

> warrants or detainers in another jurisdiction. Signed by Magistrate Judge Karla R. Spaulding on 3/14/2014. (copies

oO provided)(ECJ) (Entered: 03/14/2014)

03/14/2014 20 | ARREST Warrant Returned Executed on 3/7/14 as to Jonathan Tyler Prive. (LAK) (Entered: 03/14/2014)

LO

™ 04/16/2014 21: First MOTION to continue trial until July 1, 2014 and to enlarge the period for the filing of pretrial motions up to and

a including June 1, 2014 by Jonathan Tyler Prive. (Rodriguez, Jose) Modified on 4/17/2014 (MAL). (Entered: 04/16/2014)

—_—

© 04/17/2014 22 | Minute Entry for proceedings held before Judge John Antoon I]: CRIMINAL STATUS Conference as to Jonathan Tyler

oO Prive held on 4/17/2014. Court grants Defendant's motion to continue trial - Separate order to be entered. Counsel for Govt:

oO Andrew Searle; Counsel for Deft: Jose Rodriguez. Start time: 9:47 a.m; End time: 9:52 a.m. Court Reporter: Diane Peede

Oo (DJD) (Entered: 04/18/2014)

oO

iL 04/23/2014 23. | WAIVER of speedy trial by Jonathan Tyler Prive (Attachments: # | Main Document Certificate of Service)(Rodriguez,

o Jose) (Entered: 04/23/2014)

a 05/01/2014 24 : ORDER granting 21 Motion to continue trial as to Jonathan Tyler Prive. Jury Trial reset for the trial term commencing
9/2/2014 in Orlando Courtroom 6 B before Judge John Antoon II. Status Conference set for 8/15/2014 at 09:15 AM in
Orlando Courtroom 6 B before Judge John Antoon IT. Signed by Judge John Antoon II on 5/1/2014. CTP (DJD) (Entered:

LO 05/01/2014)

N

2 08/15/2014 25 | Minute Entry for status conference proceedings held before Judge John Antoon II as to Jonathan Tyler Prive on 8/15/2014.

o Andrew Searle appears for the government, Jose Rodriguez appears for the defendant. Counsel for Defendant informs the

& Court this case should resolve by a guilty plea. The Court informs the parties that if the case does go to trial, it will be heard

a the week of 9/2/2014. Court Reporter: Amie First. Time in Court: 9:32 a.m. - 9:35 am. (LAM) (Entered: 08/15/2014)

5 es

Q 08/15/2014 26 | NOTICE OF HEARING as to Jonathan Tyler Prive: Change of Plea Hearing set for 8/27/2014 at 09:30 AM in Orlando
Courtroom 5 D before Magistrate Judge Karla R. Spaulding. (copies provided)(ECJ) (Entered: 08/15/2014)

N 08/26/2014 27 | PLEA AGREEMENT rte: count(s) Two of the Indictment as to Jonathan Tyler Prive (Searle, Andrew) (Entered:

o

oO 08/26/2014)

N

Tv 08/27/2014 28 | Minute Entry for proceedings held before Magistrate Judge Karla R. Spaulding: Change of Plea Hearing as to Jonathan

LO Tyler Prive held on 8/27/2014. (DIGITAL) (ECJ) (Entered: 08/27/2014)

@ 08/27/2014 29 | NOTICE regarding plea of guilty by Jonathan Tyler Prive. (ECJ) (Entered: 08/27/2014)

5 08/27/2014 30 | CONSENT TO INSPECTION of Presentence Investigation Report by Jonathan Tyler Prive. (ECJ) (Entered: 08/27/2014)

_ 08/27/2014 31 | REPORT AND RECOMMENDATIONS concerning Plea of Guilty re: Count Two of the Indictment as to Jonathan Tyler

x Prive. Signed by Magistrate Judge Karla R. Spaulding on 8/27/2014. (copies provided)(ECJ) (Entered: 08/27/2014)

B 08/27/2014 32 | NOTICE of no objection re 31 Report and Recommendations concerning plea of guilty by USA as to Jonathan Tyler Prive.
(ECJ) (Entered: 08/27/2014)

08/27/2014 33 | NOTICE of no objection re 31 Report and Recommendations concerning plea of guilty by Jonathan Tyler Prive. (ECJ)
(Entered: 08/27/2014)

08/28/2014 34 | NOTICE OF HEARING as to Jonathan Tyler Prive: Sentencing set for 1/9/2015 at 09:30AM in Orlando Courtroam 6 B
before Judge John Antoon II. Note to Counsel: 1) Counsel should call the Courtroom Deputy Clerk at (407) 835-4304 if
they anticipate this hearing will take longer than 15 minutes. 2) The Pre-sentence report shall be provided to the Court by
December 5, 2014 by the Probation Office. 3) Any sentencing memoranda, expert reports or other documentation the
parties wish the Court to consider shall be filed by December 12, 2014. CTP(DJD) (Entered: 08/28/2014)

08/28/2014 35 | NOTICE to Court Regarding Forfeiture by USA as to Jonathan Tyler Prive (Andrejko, Nicole) (Entered: 08/28/2014)

 

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08/29/2014 36 | ACCEPTANCE OF PLEA of guilty and adjudication of guilt re: Count Two of the Indictment as to Jonathan Tyler Prive.
Signed by Judge John Antoon I] on 8/29/2014. CTP (DJD) (Entered: 08/29/2014)

09/22/2014 37 | TRANSCRIPT of change of plea as to Jonathan ‘Tyler Prive held on 8-27-14 before Judge Karla R. Spaulding. Court
Reporter/Transcriber Sandy Tremel, Telephone number 407-245-3110. Tape Number: digital. Transcript may be viewed at
the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request
due 10/14/2014, Redacted Transcript Deadline set for 10/23/2014, Release of Transcript Restriction set for 12/22/2014.
(SKT) (Entered: 09/22/2014)

09/22/2014 38 | NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a
Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely
electronically available to the public without redaction after 90 calendar days. Any party needing a copy of the transcript to
review for redaction purposes may purchase a copy from the court reporter or view the document at the clerk's office public
terminal as to Jonathan Tyler Prive. Court Reporter: Sandy Tremel (SKT) (Entered: 09/22/2014)

 

 

 

10/21/2014 39 | ***STRICKEN*** MOTION to Appoint Counsel by Jonathan Tyler Prive. FILED PRO SE. (IGC) Motions referred to
Magistrate Judge Karla R. Spaulding. Modified on 10/22/2014 (JET). ***STRICKEN PER ORDER #40. (Entered:
10/21/2014)

10/21/2014 40 | ENDORSED ORDER striking 39 Motion to appoint counsel as to Jonathan Tyler Prive (1). Mr. Prive is represented by
counsel and may nut file motions on his own behalf. The Court requests that Mr. Prive's counsel contact him expeditiously
to discuss the issues raised by the filing and notify the Court through a motion if a hearing on this matter is requested.
Counsel for Mr. Prive should also provide him with a copy of this text-entry order. Signed by Magistrate Judge Karla R.
Spaulding on 10/21/2014. (Spaulding, Karla) (Entered: 10/21/2014)

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10/29/2014

1
—

First MOTION to Withdraw as Attorney by Jose Rodriguez. by Jonathan Tyler Prive. (Rodriguez, Jose) Motions referred to
Magistrate Judge Karla R. Spaulding. (Entered: 10/29/2014)

 

10/29/2014

iS

NOTICE OF HEARING ON MOTION in case as to Jonathan Tyler Prive: 41 First MOTION to Withdraw as Attorney by
Jose Rodriguez. Motion Hearing set for | 1/3/2014 at 01:30 PM in Orlando Courtroom 5 D before Magistrate Judge Karla
R. Spaulding. (copies provided)(ECJ) (Entered: 10/29/2014)

 

11/03/2014 43 | Minute Entry for proceedings held before Magistrate Judge Karla R. Spaulding: Motion Hearing as to Jonathan Tyler Prive
held on 11/3/2014 re 4] First MOTION to Withdraw as Attorney by Jose Rodriguez filed by Jonathan Tyler Prive.
(DIGITAL) (ECJ) (Entered: 11/03/2014)

Date Filed: 08/10/2015

 

11/03/2014 44 | ORDER granting 4] Motion to Withdraw as Attorney. Jose Rodriguez, Esq., is relieved of his appointment to represent the
Defendant and Daniel Brodersen, Esq., is appointed to represent the Defendant. Signed by Magistrate Judge Karla R.
Spaulding on 11/3/2014. (ECJ) (Entered: 11/03/2014)

11/07/2014 45 | RULE 32(e)(2) INITIAL PRESENTENCE INVESTIGATION REPORT as to Jonathan Tyler Prive. E-copies made
available to selected parties.(MF) (Entered: 11/07/2014)

 

 

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12/05/2014 46 | RULE 32(g) FINAL PRESENTENCE INVESTIGATION REPORT as to Jonathan Tyler Prive. E-copies made available to
selected parties.(CS) (Entered: 12/05/2014)

12/09/2014 48 | Verified MOTION to Withdraw Plea of Guilty by Jonathan Tyler Prive. (Brodersen, Daniel) (Entered: 12/09/2014)

 

 

12/09/2014 49 | NOTICE of Clarification by Jonathan Tyler Prive re 48 Verified MOTION to Withdraw Plea of Guilty . (Brodersen,
Daniel) (Entered: 12/09/2014)

 

12/10/2014 50 ; MOTION to extend time until 12/19/14 to Submit Sentencing Memorandum by Jonathan Tyler Prive, (Brodersen, Daniel)
Modified on 12/11/2014 (IGC). (Entered: 12/10/2014)

 

12/2014 Sl | SENTENCING MEMORANDUM by USA as to Jonathan Tyler Prive (Searle, Andrew) (Entered: 12/12/2014)

 

12/15/2014 52 | ENDORSED ORDER requiring the United States to file a a response to cena s Verified Motion to Withdraw Guilty

Karla) (Entered: 12/15/2014)

 

USCA11 Case: 15-12032

12/19/2014 53 | ENDORSED ORDER granting 50 Motion to extend time to submit sentencing memorandum as to Jonathan Tyler Prive.
Defendant has up to and including January 6, 2015 to file their sentencing memorandum. Signed by Judge John Antoon II
on 12/19/2014. CTP(DJD) (Entered: 12/19/2014)

 

12/19/2014 54 | RESPONSE in Opposition by USA as to Jonathan Tyler Prive re 48 Verified MOTION to Withdraw Plea of Guilty
(Attachments: # | Exhibit A)(Searle, Andrew) (Entered: 12/19/2014)

 

12/23/2014 55 ; REPORT AND RECOMMENDATIONS as to Jonathan Tyler Prive that 48 Verified MOTION to withdraw plea of guilty
be granted. Signed by Magistrate Judge Karla R. Spaulding on 12/23/2014. (LAK) (Entered: 12/23/2014)

 

01/06/2015 56 | OBJECTION to 55 Report and Recommendations by USA as to Jonathan Tyler Prive (Searle, Andrew) Modified on

1/6/2015 (JET). (Exhibit A is filed at 58 .) (Entered: 01/06/2015)

 

 

 

 

 

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01/06/2015
01/06/2015

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Unopposed MOTION to Continue Sentencing by USA as to Jonathan Tyler Prive. (Searle, Andrew) (Entered: 01/06/2015)

 

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NOTICE of Filing Exhibit A to Objections 56 by USA as to Jonathan Tyler Prive (Attachments: # { Exhibit A)(Searle,
Andrew) Modified on 1/6/2015 (JET). (Entered: 01/06/2015)

 

01/06/2015 59 | ENDORSED ORDER granting 37 Motion to Continue sentencing as to Jonathan Tyler Prive. Signed by Judge John Antoon

IL on 1/6/2015. CTP(DJD) (Entered: 01/06/2015)

01/06/2015 60 | NOTICE OF RESCHEDULING HEARING: The Sentencing hearing previously scheduled for January 9, 2015 is
rescheduled as to Jonathan Tyler Prive. New hearing date and time:Sentencing set for 2/6/2015 at 10:00AM in Orlando
Courtroom 6 B before Judge John Antoon II. CTP(DJD) (Entered: 01/06/2015)

 

 

01/07/2015 61 | NOTICE OF HEARING as to Jonathan Tyler Prive: evidentiary hearing on 48 motion to withdraw guilty plea set for
January 22, 2015 at 9:30 a.m. Signed by Judge John Antoon II on 1/7/2015. (HV) (Entered: 01/07/2015)

01/16/2015 62 , AMENDED re 61 NOTICE OF HEARING as to Jonathan Tyler Prive: evidentiary hearing on 48 motion to withdraw guilty
plea set for January 22, 2015 at 9:30 a.m. Current counsel shall be prepared to discuss the Court's standard of review with
regard to 55 Report and Recommendation. Signed by Judge John Antoon I] on 1/16/2015, (HV) Modified on 1/16/2015
(MAL). (Entered: 01/16/2015)

 

 

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01/16/2015 Set hearings as to Jonathan Tyler Prive: Evidentiary Hearing set for 1/22/2015 at 09:30 AM in Orlando Courtroom 6 B
before Judge John Antoon II. (MAL) (Entered: 01/16/2015)

 

01/20/2015 63 | RESPONSE 56 Objection to Report and Recommendations by Jonathan Tyler Prive (Brodersen, Daniel) (Entered:
01/20/2015)

 

01/21/2015 64 | NOTICE ¢o the Court regarding the standard of review of the Magistrate Judge's Report and Recommendation by USA as
to Jonathan Tyler Prive re 55 REPORT AND RECOMMENDATIONS as to Jonathan Tyler Prive re 48 Verified MOTION
to Withdraw Plea of Guilty .. (Searle, Andrew) (Entered: 01/21/2015)

 

01/22/2015 63 | Minute Entry for proceedings held before Judge John Antoon IJ: Motion Hearing as to Jonathan Tyler Prive held on
1/22/2015 re 48 Verified MOTION to Withdraw Plea of Guilty filed by Jonathan Tyler Prive. Witnesses: Jonathan Prive
and Jose Rodriguez. Court takes motion under advisement and will issue written order. Court Reporter: Koretta Stanford
(DJD) (Entered: 01/23/2015)

 

Date Filed: 08/10/2015

02/05/2015 66 | MOTION to Withdraw as Attomey by Daniel N. Brodersen. by Jonathan Tyler Prive. (Brodersen, Daniel) Motions referred
to Magistrate Judge Karla R. Spaulding. (Entered: 02/05/2015)

 

02/05/2015 67 , ORDER denying 48 Motion to Withdraw Plea of Guilty as to Jonathan Tyler Prive; sustaining 56 Objections to 55 Report

(HV) (Entered: 02/05/2015)

02/05/2015 68 | NOTICE OF RESCHEDULING HEARING: The Sentencing hearing previously scheduled for February 6, 2015 is
rescheduled as to Jonathan Tyler Prive. New hearing date and time:Sentencing set for 2/27/2015 at 10:30AM in Orlando
Courtroom 6 B before Judge John Antoon H. CTP(DJD) (Entered: 02/05/2015)

02/05/2015 69 | NOTICE OF HEARING ON MOTION in case as to Jonathan Tyler Prive: 66 MOTION to Withdraw as Attorney by Daniel

N. Brodersen. Motion Hearing set for 2/10/2015 at 10:30 AM in Orlando Courtroom 5 D before Magistrate Judge Karla R.
Spaulding. (copies provided)(ECJ) (Entered: 02/05/2015)

 

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02/10/2015 70 | Minute Entry for proceedings held before Magistrate Judge Karla R. Spaulding: Motion Hearing as to Jonathan Tyler Prive
held on 2/10/2015 re 66 MOTION to Withdraw as Attorney by Daniel N. Brodersen. filed by Jonathan Tyler Prive.
(DIGITAL) (ECJ) (Entered: 02/10/2015)

 

02/10/2015 71 | ORDER appointing counsel as to Jonathan Tyler Prive. It is ORDERED that Patrick Megaro, Esq., is appointed to represent
Defendant Jonathan Tyler Prive pursuant to 18 U.S.C. § 3006(A). Signed by Magistrate Judge Karla R. Spaulding on
2/10/2015. (copies provided)(ECJ) (Entered: 02/10/2015)

02/10/2015 72 | NOTICE OF HEARING ON MOTION in case as to Jonathan Tyler Prive: 66 MOTION to Withdraw as Attorney by Daniel
N. Brodersen. Continuation of Motion Hearing set for 2/18/2015 at 10:30 AM in Orlando Courtroom 5 D before Magistrate
Judge Karla R. Spaulding. The Defendant is required to be present. (copies provided)(ECJ) (Entered: 02/10/2015)

 

 

USCA11 Case: 15-12032

02/11/2015 74 | Unopposed MOTION to Continue Sentencing Proceedings by Jonathan Tyler Prive. (Brodersen, Daniel) (Entered:
02/11/2015)

 

02/11/2015 75 | ORDER denying without prejudice 74 Motion to Continue as to Jonathan Tyler Prive. Signed by Judge John Antoon I] on

2/11/2015. (HV) (Entered: 02/11/2015)

 

02/18/2015 76 : Minute Entry for proceedings held before Magistrate Judge Karla R. Spaulding: Motion Hearing as to Jonathan Tyler Prive

(DIGITAL) (ECJ) (Entered: 02/18/2015)

 

02/18/2015 77 | ORDER withdrawing 66 Motion to Withdraw as Counsel of Record as to Jonathan Tyler Prive (1). Signed by Magistrate
Judge Karla R. Spaulding on 2/18/2015. (ECJ) (Entered: 02/18/2015)

 

 

 

 

 

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02/23/2015 78 | Second MOTION to Continue Sentencing Proceedings (Unopposed) by Jonathan Tyler Prive. (Brodersen, Daniel) (Entered:
02/23/2015)

 

TI on 2/23/2015. CTP(DJD) (Entered: 02/23/2015)

02/23/2015 80 | NOTICE OF RESCHEDULING HEARING: The Sentencing hearing previously scheduled for February 27, 2015 is
rescheduled as to Jonathan Tyler Prive. New hearing date and time:Sentencing set for 3/27/2015 at 10:00AM in Orlando
Courtroom 6 B before Judge John Antoon II. All Objections to the Pre-Sentence Report or Motions pertaining thereto shall
be in writing and filed no later than three (3) days prior to the sentencing hearing. Counsel is to notify the Courtroom
Deputy Clerk as soon as possible if they believe the sentencing will be longer than 30 minutes. CTP(DJD) (Entered:
02/23/2015)

02/23/2015 79 | ENDORSED ORDER granting 78 Motion to Continue sentencing as to Jonathan Tyler Prive. Signed by Judge John Antoon

 

 

02/26/2015 81 | ORDER as to Jonathan Tyler Prive. No later than March 20, 2015, the Government and Defendant shall submit to the Court
additional arguments and supporting authority for any issue pertaining to sentencing that have not previously been
addressed. Signed by Judge John Antoon I] on 2/25/2015. CTP(DJD) (Entered: 02/26/2015)

03/20/2015 82 | AMENDED RULE 32(g) FINAL PRESENTENCE INVESTIGATION REPORT as to Jonathan Tyler Prive. E-copies made
available to selected parties.(CS) (Entered: 03/20/2015)

 

 

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03/26/2015 84 | Renewed MOTION for Daniel N. Brodersen to Withdraw as Attorney by Jonathan Tyler Prive. (Brodersen, Daniel)
Motions referred to Magistrate Judge Karla R. Spaulding. Modified on 3/27/2015 (JET). (Entered: 03/26/2015)

 

03/26/2015 85 | NOTICE canceling Sentencing hearing scheduled for March 27, 2015 as to Jonathan Tyler Prive. The Court will reschedule
the sentencing by separate notice following ruling on the Defendant's second motion to withdraw as attorney. CTP (DJD)
(Entered: 03/26/2015)

 

03/27/2015 86 | ORDER denying 84 Renewed Motion to Withdraw as Counsel as to Jonathan Tyler Prive (1). Signed by Magistrate Judge
Karla R. Spaulding on 3/27/2015. (ECJ) (Entered: 03/27/2015)

03/27/2015 87 | NOTICE OF RESCHEDULING HEARING: The Sentencing hearing previously scheduled for March 27, 2015 is
rescheduled as to Jonathan Tyler Prive. New hearing date and time:Sentencing set for 4/15/2015 at 10:30AM in Orlando
Courtroom 6 B before Judge John Antoon I]. CTP(DJD) (Entered: 03/27/2015)

 

 

04/14/2015 88 | PRESENTENCE REPORT SUPPLEMENTAL MEMORANDUM/ATTACHMENTS as to Jonathan Tyler Prive. E-copies
made available to selected parties.(CCS) (Entered: 04/14/2015)

Date Filed: 08/10/2015

 

04/15/2015 89 | Minute Entry for proceedings held before Judge John Antoon II: Sentencing proceedings held on April 15, 2015. Defense
counsel advises the Court that defendant requests he be allowed to file a motion pro se for the Court's consideration. The
Court waives the rule and allows defendant's pro se motion to be filed. The Court Denies defendant's pro se motion to
terminate proceedings and vacate sentence. Court hears argument on objections to the PSR and continues the sentencing to
allow defendant to file a written response to the enhancement requested by the Government. Sentencing will be reset by
separate notice. Counsel for Govt: Andrew Searle; Counsel for Deft: Daniel Brodersen. Times: 10:30-11:20 a.m;
11:35-11:55 p.m. Court Reporter: Sandy Tremel (DJD) (Entered: 04/15/2015)

Document: 25

 

04/15/2015 90 | Pro Se MOTION to terminate proceedings and Vacate Sentence by Jonathan Tyler Prive filed in open court. (DJD)
(Entered: 04/15/2015)

 

04/15/2015 91 : ORAL ORDER denying 90 Motion to terminate proceedings and Vacate sentence as to Jonathan Tyler Prive.
Entered by Judge John Antoon II on 4/15/2015. (DJD) (Entered: 04/15/2015)

04/15/2015 92 ; NOTICE OF HEARING as to Jonathan Tyler Prive: Continuation of Sentencing set for 4/22/2015 at 10:30AM in Orlando
Courtroom 6 B before Judge John Antoon I]. CTP(DJD) (Entered: 04/15/2015)

 

 

04/17/2015 93 | MEMORANDUM in support re 82 Presentence Investigation Report (Parties) Probation - SEALED by USA as to Jonathan

Tyler Prive (Searle, Andrew) (Entered: 04/17/2015)

 

04/21/2015 94 | NOTICE Regarding the Applicability of USSG 4B1.5 by Jonathan Tyler Prive re 89 Sentencing. (Brodersen, Daniel)
(Entered: 04/21/2015)

04/22/2015 95 | Minute Entry for proceedings held before Judge John Antoon Il: SENTENCING held on 4/22/2015 for Jonathan Tyler
Prive on Count 2 - Imprisonment: 365 months; Deft. is remanded to the custody of the U.S. Marshal. Supervised release:
Life; Mandatory drug testing requirements are waived. Special conditions of supervised release: Deft. shall be prohibited
from incurring new credit charges, opening additional lines of credit, etc. and provide probation officer access to any
requested financial information. Sex offender conditions: Participate in a sexual offender mental health treatment program;
No contact with minor children; Media and computer restrictions imposed; Register with all sex offender registries as
required by law: Submit to a search of your person, residence, place of business, etc.; Cooperate in the collection of DNA.
Fine: Waived; Special assessment: $100.00. Count | of the Indictment is Dismissed. Court Reporter: Diane Peede (DJD)
(Entered: 04/23/2015)

 

USCA11 Case: 15-12032

 

04/26/2015 96 | MOTION for miscellaneous relief, specifically For an Order Directing the U.S. Marshal's Service to Transfer Custody of
Defendant to State Authorities by Jonathan Tyler Prive. (Brodersen, Daniel) (Entered: 04/26/2015)

 

 

 

 

 

6 of 8 8/10/2015 9:58 AM
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04/27/2015 97 , MOTION for miscellaneous relief, specifically For an Order Directing the Government to Preserve Evidence by Jonathan
Tyler Prive. (Brodersen, Daniel) (Entered: 04/27/2015)

 

04/27/2015 98 | SUDGMENT as to Jonathan Tyler Prive - Count 1 is Dismissed; Count 2 - Imprisonment: 365 months; Deft. is
remanded to the custody of the U.S. Marshal. Supervised release: Life; Mandatory drug testing requirements are
waived. Special conditions of supervised release: Deft. shall be prohibited from incurring new credit charges,
opening additional lines of credit, ete. and provide probation officer access to any requested financial information.
Sex offender conditions: Participate in a sexual offender mental health treatment program; No contact with minor
children; Media and computer restrictions imposed; Register with all sex offender registries as required by law;
Submit to a search of your person, residence, place of business, etc.; Cooperate in the collection of DNA. Fine:
Waived; Special assessment: $100.00. Signed by Judge John Antoon H on 4/27/2015. (DJD) CTP (Entered:
04/27/2015)

 

04/27/2015 99 | STATEMENT OF REASONS as to Jonathan Tyler Prive. E-copies made available to selected parties. (DJD) (Entered:
04/27/2015)

 

04/27/2015 100 | MEMORANDUM ORDER regarding sentencing factors as to Jonathan Tyler Prive. Signed by Judge John Antoon
If on 4/27/2015. (DJD) (Entered: 04/27/2015)

 

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05/05/2015 101 | NOTICE OF APPEAL by Jonathan Tyler Prive re 100 Order, 98 Judgment Filing fee not paid. (Brodersen, Daniel)
(Entered: 05/05/2015)

 

05/05/2015 102 | TRANSMITTAL of initial appeal package as to Jonathan Tyler Prive to USCA consisting of copies of notice of appeal,
docket sheet, order/judgment being appealed, and motion, if applicable to USCA re 101 Notice of Appeal. Eleventh Circuit
Transcript information form forwarded to pro se litigants and available to counsel at www.flmd.uscourts.gov under Forms
and Publications/General. (IGC) (Entered: 05/05/2015)

 

05/12/2015 USCA Case Number 15-12032 for 10] Notice of Appeal filed by Jonathan Tyler Prive. (LAK) (Entered: 05/12/2015)

 

05/19/2015 103 | TRANSCRIPT information form filed by Jonathan Tyler Prive for proceedings held on August 27, 2014, January 22, 2015,

(Attachments: # 1 Supplement CJA 24)(Brodersen, Daniel} (Entered: 05/19/2015)

05/26/2015 104 | COURT REPORTER ACKNOWLEDGEMENT by Sandy Tremel re 101 Notice of Appeal as to Jonathan Tyler Prive.
Estimated transcript filing date: 6-25-15. USCA number: 15-12032. (SKT) (Entered: 05/26/2015)

 

Date Filed: 08/10/2015

 

05/26/2015 105 | ENDORSED ORDER directing USA to respond to 97 MOTION for miscellaneous relief, specifically For an Order
Directing the Government to Preserve Evidence as to Jonathan Tyler Prive. Responses due by 6/4/2015. Signed by
Judge John Antoon H on 5/26/2015. CTP(DJD) (Entered: 05/26/2015)

 

06/02/2015 106 | COURT REPORTER ACKNOWLEDGEMENT by Koretta Stanford re 10 Notice of Appeal as to Jonathan Tyler Prive.

 

06/04/2015 107 | RESPONSE to Mosion re 97 MOTION for miscellaneous relief, specifically For an Order Directing the Government to

Preserve Evidence by USA as to Jonathan Tyler Prive (Searle, Andrew) (Entered: 06/04/2015)

06/09/2015 108 | COURT REPORTER ACKNOWLEDGEMENT by Diane Peede re 101 Notice of Appeal as to Jonathan Tyler Prive.
Estimated transcript filing date: 7/2/15. USCA number: 15-12032. (DP) (Entered: 06/09/2015)

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06/09/2015 109 | NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a
Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely
electronically available to the public without redaction after 90 calendar days. Any party needing a copy of the transcript to
review for redaction purposes may purchase a copy from the court reporter or view the document at the clerk's office public
terminal as to Jonathan Tyler Prive. Court Reporter: Sandy Tremel (SKT) (Entered: 06/09/2015)

06/09/2015 110 | NOTICE FILED IN ERROR. Modified on 6/9/2015 (GJS). (Entered: 06/09/2015)

 

 

06/09/2015 U1 | NOTIFICATION that transcript has been filed by Sandy Tremel re: 10! Notice of Appeal as to Jonathan Tyler Prive USCA
number: 15-12032-CA (SKT) (Entered: 06/09/2015)

 

06/18/2015 112 ORDER granting 97 Motion for an Order Directing the Government to Preserve Evidence as to Jonathan Tyler
Prive (1); ordering the Government to preserve all evidence in this case until the conclusion of Defendant's state
case and any appellate proceedings. Signed by Judge John Antoon II on 6/17/2015. (HV) (Entered: 06/18/2015)

USCA11 Case: 15-12032

06/19/2015 113 | ENDORSED ORDER denying as moot 96 Motion for order directing the U.S. Marshal's service to transfer custody
of defendant to State authorities as to Jonathan Tyler Prive. The Court has been informed by the U.S. Marshal that
the defendant was released to state custody at the Brevard County Jail on May I1, 2015. Signed by Judge John
Antoon IT on 6/19/2015. (DJD) (Entered: 06/19/2015)

 

 

06/25/2015 il4 | TRANSCRIPT of the continuation of the sentencing (Vol. II) for the date of 4/22/15 held before Judge John Antoon IL, re:

number (407) 615-0305. Transcript may be viewed at the court public terminal or purchased through the Court
Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through

 

 

 

 

 

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PACER or purchased through the Court Reporter. Redaction Request due 7/16/2015, Redacted Transcript Deadline set for
7/27/2015, Release of Transcript Restriction set for 9/23/2015. (DP) (Entered: 06/25/2015)

06/25/2015 115 | NOTICE to counsei of filing of OFFICIAL TRANSCRIPT (Doc. No. 114). The parties have seven (7) calendar days to file
with the court a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be
made remotely electronically available to the public without redaction after 90 calendar days. Any party needing a copy of
the transcript to review for redaction purposes may purchase a copy from the court reporter or view the document at the
clerk's office public terminal as to Jonathan Tyler Prive. Court Reporter: Diane Peede (DP) (Entered: 06/25/2015)

 

 

06/25/2015 116 : NOTIFICATION that transcript has been filed by Diane Peede re: 101 Notice of Appeal as to Jonathan Tyler Prive USCA

 

06/30/2015 117 | TRANSCRIPT of Motion/Evidentiary Hearing for date of 01/22/15 held before Judge John Antoon II, re: 1Q1 Notice of

Appeal as to Jonathan Tyler Prive. Court Reporter/Transcriber Koretta Stanford, Telephone number 407-872-1715.
Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained through PACER or purchased through the
Court Reporter. Redaction Request due 7/21/2015, Redacted Transcript Deadline set for 7/3 1/2015, Release of Transcript
Restriction set for 9/28/2015. (KS) (Entered: 06/30/2015)

 

 

06/30/2015 118 | NOTICE to counsel of filing of OFFICIAL TRANSCRIPT, Doc. 117. The parties have seven (7) calendar days to file with |
the court a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
remotely electronically available to the public without redaction after 90 calendar days. Any party needing a copy of the
transcript to review for redaction purposes may purchase a copy from the court reporter or view the document at the clerk's
office public terminal as to Jonathan Tyler Prive. Court Reporter: Koretta Stanford (KS) (Entered: 06/30/2015)

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06/30/2015 1i9 | NOTIFICATION that transcript has been filed by Koretta Stanford re: 101 Notice of Appeal as to Jonathan Tyler Prive

 

07/02/2015

 

to Jonathan Tyler Prive. Court Reporter/Transcriber Sandy Tremel, Telephone number 407-288-6343,
sandy.tremel@gmail.com. Transcript may be viewed at the court public terminal or purchased through the Court
Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
PACER or purchased through the Court Reporter. Redaction Request due 7/23/2015, Redacted Transcript Deadline set for
8/3/2015, Release of Transcript Restriction set for 9/30/2015. (SKT) (Entered: 07/02/2015)

Date Filed: 08/10/2015

 

07/02/2015 12

NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a
Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely
electronically available to the public without redaction after 90 calendar days. Any party needing a copy of the transcript to
review for redaction purposes may purchase a copy from the court reporter or view the document at the clerk's office public
terminal as to Jonathan Tyler Prive. Court Reporter: Sandy Tremel (SKT) (Entered: 07/02/2015)

 

07/06/2015 Mail returned as Undeliverable re: [12 Order on Motion for Miscellaneous Relief. Mail resent to Jonathan Tyler Prive at

Brevard County Jail Complex. See Order #113. (JET) (Entered: 07/07/2015)

 

 

 

 

 

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UNITED STATES DISTRICT COURT eS FEE 1S Fi us 02
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION

UNITED STATES OF AMERICA
V. CASE NO. 6:14-cr-33-Orl- 36 ~KRS

18 U.S.C. § 2422(b)
JONATHAN TYLER PRIVE 18 U.S.C. § 2428 - Forfeiture

INDICTMENT
The Grand Jury charges:
COUNT ONE
Beginning on or about September 9, 2013, and continuing through and
including on or about September 10, 2013, in Brevard County, Florida, in the
Middle District of Florida, and elsewhere,
JONATHAN TYLER PRIVE,
the defendant herein, using a facility and means of interstate commerce, that is,
the Internet and cell phone, did knowingly persuade, induce, entice and coerce an
individual who had not attained the age of 18 years to engage in sexual activity for
which any person could be charged with a criminal offense under the laws of the
State of Florida law, that is, Lewd or lascivious molestation and conduct, violations
of Section 800.04, Florida Statutes, and Sexual battery, a violation of Section

794.011, Florida Statutes.

Allin violation of Title 18, United States Code, Section 2422(b).
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COUNT TWO
Beginning on or about November 4, 2013, and continuing through and
including on or about November 5, 2013, in Brevard County, Florida, in the Middle
District of Florida, and elsewhere,
JONATHAN TYLER PRIVE,
the defendant herein, using a facility and means of interstate commerce, that is,
the Internet and cell phone, did knowingly attempt to persuade, induce, entice and
coerce an individual who had not attained the age of 18 years to engage in sexual
activity for which any person could be charged with a criminal offense under the
laws of the State of Florida law, that is, Lewd or lascivious molestation and
conduct, violations of Section 800.04, Florida Statutes, and Sexual battery, a
violation of Section 794.011, Florida Statutes.
Allin violation of Title 18, United States Code, Section 2422(b).
FORFEITURE
1. The allegations contained in Counts One and Two of this Indictment
are hereby re-alleged and incorporated by reference for the purpose of alleging
forfeitures, pursuant to provisions of Title 18, United States Code, Section 2428.
2. From his engagement in violations alleged in Counts One and Two of
this Indictment, the defendant, JONATHAN TYLER PRIVE, shall forfeit to

the United States, pursuant to Title 18, United States Code, Section 2428, all of his

interest in:
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a. Any property, real or personal, that was used to commit or facilitate

the commission of such violation; and

b. Any property, real or personal, constituting or derived from any

proceeds that such person obtained, directly or indirectly. as a result

of such violation.

3. If any of the property described above as being subject to forfeiture,

as a result of any act or omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
person;

has been placed beyond the jurisdiction of the Court:

has been substantially diminished in value; or

has been commingled with other property which cannot be

subdivided without difficulty;
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itis the intent of the United States, pursuant to Title 18, United States Code,

Section 2253(b), to seek forfeiture of any other property of said defendant up to the

value of the above forfeitable property.

By:

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Foreperson

   
 

A. LEE BENTLEY, Ill
United States Attorney

ody. (AG

Andrew C. Searle
Assistant United States Attorney

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Carlos A. Perez-Irizarry”
Assistant United States Attorney
Chief, Orlando Division
 

 

 

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AF Approval _4 4 NG Chief Approval C

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

Vv. CASE NO. 6:14-cr-33-Orl-28KRS
JONATHAN TYLER PRIVE

PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by A.
Lee Bentley, Ill, United States Attorney for the Middle District of Florida, and the
defendant, JONATHAN TYLER PRIVE, and the attorney for the defendant, Jose
Rodriguez, mutually agree as follows:

A. Particularized Terms

1. Count Pleading To
The defendant shail enter a plea of guilty to Count Two of the
Indictment. Count Two charges the defendant with attempted enticement of a
minor, in violation of 18 U.S.C. § 2422(b).
2. Minimum and Maximum Penalties
Count Two is punishable by a mandatory minimum term of
imprisonment of 10 years up to life, a fine of up to $250,000, a term of supervised
release of at least 5 years up to life, and a special assessment of $100 per felony
count. With respect to certain offenses, the Court shall order the defendant to

make restitution to any victim of the offenses, and with respect to other offenses,

42
Defendant's Initials if
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the Court may order the defendant to make restitution to any victim of the

offenses, or to the community, as set forth below.

3. Elements of the Offense

The defendant acknowledges understanding the nature and
elements of the offense with which defendant has been charged and to which

defendant is pleading guilty. The elements of Count Two are:

First: the Defendant knowingly attempted to persuade, induce,
entice or coerce an individual to engage in sexual activity;
_ Second: the Defendant used the internet or cellphone to do so;
Third: when the Defendant did these acts, the victim was less than

18 years old; and,

Fourth: one or more of the individuals engaging in the sexual activity
could have been charged with a criminal offense under the
law of Florida.

4. Count Dismissed

At the time of sentencing, the remaining count against the
defendant, Count One, will be dismissed pursuant to Fed. R. Crim. P.
11(c)(1)(A).

5. No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge defendant
with committing any other federal criminal offenses known to the United States
Attorney's Office at the time of the execution of this agreement, related to the

conduct giving rise to this plea agreement.

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6. Mandatory Restitution to Victim of Offense of Conviction

Pursuant to 18 U.S.C. §§ 2248 and 2259, defendant agrees to

make full restitution to the minor victim.
7. Mandatory Restitution to Victims of Offense of Conviction

Pursuant to 18 U.S.C. § 2259, defendant agrees to make restitution
to known victims of the offense for the full amount of the victims’ losses as
determined by the Court. Further, pursuant to 18 U.S.C. § 3364(d)(5), the
defendant agrees not to oppose bifurcation of the sentencing hearing if the
victims’ losses are not ascertainable prior to sentencing.

8. Guidelines Sentence

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the defendant’s
applicable guidelines range as determined by the Court pursuant to the United
States Sentencing Guidelines, as adjusted by any departure the United States
has agreed to recommend in this plea agreement. The parties understand that
such a recommendation is not binding on the Court and that, if it is not accepted
by this Court, neither the United States nor the defendant will be allowed to
withdraw from the plea agreement, and the defendant will not be allowed to
withdraw from the plea of guilty.

9. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,

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the United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3E1.1(a). The defendant understands that this
recommendation or request is not binding on the Court, and if not accepted by
the Court, the defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.4., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional level.
The defendant understands that the determination as to whether the defendant
has qualified for a downward adjustment of a third level for acceptance of
responsibility rests solely with the United States Attorney for the Middle District of
Florida, and the defendant agrees that the defendant cannot and will not
challenge that determination, whether by appeal, collateral attack, or otherwise.

10. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 2428, whether in the possession or control of
the United States, the defendant or defendant's nominees. The assets to be

forfeited specifically include, but are not limited to, the following: an Acer Aspire

Defendant's initials pe 4
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laptop computer, serial number LUSO50B13384523F 592535, which was used to
facilitate the criminal activity charged in the indictment.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative forfeiture
action. The defendant aiso hereby agrees to waive all constitutional, statutory
and procedural challenges in any manner (including direct appeal, habeas
corpus, or any other means) to any forfeiture carried out in accordance with this
Plea Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to the provisions
of Rule 32.2(b)(1)(A), the United States and the defendant request that promptly
after accepting this Plea Agreement, the Court make a determination that the
government has established the requisite nexus between the property subject to
forfeiture and the offense(s) to which defendant is pleading guilty and enter a
preliminary order of forfeiture. Pursuant to Rule 32.2(b)(4), the defendant agrees

that the preliminary order of forfeiture will satisfy the notice requirement and will

be final as to the defendant at the time it is entered. In the event the forfeiture is

Defendant's Initials bb 5

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omitted from the judgment, the defendant agrees that the forfeiture order may be
incorporated into the written judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property to
the United States before the defendant’s sentencing. The defendant agrees to
be interviewed by the government, prior to and after sentencing, regarding such
assets and their connection to criminal conduct. The defendant further agrees to
be polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG §1B1.8 will not protect from forfeiture assets disclosed by the defendant
as part of his cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant's
sentencing. In addition to providing full and complete information about
forfeitable assets, these steps include, but are not limited to, the surrender of
title, the signing of a consent decree of forfeiture, and signing of any other
documents necessary to effectuate such transfers.

The defendant agrees that the United States is not limited to
forfeiture of the property specifically identified for forfeiture in this Plea
Agreement. If the United States determines that property of the defendant
identified for forfeiture cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed

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beyond the jurisdiction of the Court; has been substantially diminished in value;
or has been commingled with other property which cannot be divided without
difficulty; then the United States shall, at its option, be entitled to forfeiture of any
other property (substitute assets) of the defendant up to the value of any property
described above. The Court shall retain jurisdiction to settle any disputes arising
from application of this clause. The defendant agrees that forfeiture of substitute
assets as authorized herein shall not be deemed an alteration of the defendant's
sentence.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penaity the
Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

4. Abandonment of Property - Computer Equipment

The United States of America and defendant hereby agree that any
computer equipment as defined in 18 U.S.C. § 2256, seized from the defendant
and currently in the custody and/or control of the Brevard County Sheriff's Office
and Homeland Security Investigations or other appropriate agency, were properly

seized and are subject to forfeiture to the government according to 18 U.S.C. §§

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2253 or 2254, and/or that the computer equipment and peripherals constitute
evidence, contraband, or fruits of the crime for which he has pled guilty. As such,
defendant hereby relinquishes all claim, title and interest he has in the computer
equipment and peripherals to the United States of America with the
understanding and consent that the Court, upon approval of this agreement,
hereby directs the Federal Bureau of Investigation, or other appropriate agency,
to cause the computer equipment described above to be destroyed forthwith
without further obligation or duty whatsoever owing to defendant or any other
person.

As part of the plea agreement in this case, defendant hereby states
under penalty of perjury that he/she is the sole and rightful owner of the property,
and that defendant hereby voluntarily abandons all right and claim to and
consents to the destruction of: an Acer Aspire laptop computer, serial number
LUS050B13384523F592535.

5. Sex Offender Registration and Notification

The defendant has been advised and understands, that under the
Sex Offender Registration and Notification Act, a federal law, the defendant must
register and keep the registration current in each of the following jurisdictions: the
location of the defendant’s residence, the location of the defendant's
employment; and, if the defendant is a student, the location of the defendant’s
school. Registration will require that the defendant provide information that

includes name, residence address, and the names and addresses of any places

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at which the defendant is or will be an employee or a student. The defendant
understands that he must update his registrations not later than three business
days after any change of name, residence, employment, or student status. The
defendant understands that failure to comply with these obligations subjects the
defendant to prosecution for failure to register under federal law, 18 U.S.C.
§ 2250, which is punishable by a fine or imprisonment, or both.
6. Removal - Notification

The defendant has been advised and understands that pleading
guilty may have consequences with respect to the defendant's immigration status
if the defendant is not a citizen of the United States. Under federal law, the
offense to which defendant is pleading guilty may be a removable offense.
Removal and other immigration consequences are the subject of a separate
proceeding, however, and the defendant understands that no one, including the
defendant's attorney or the district court, can predict to a certainty the effect of
the defendant's conviction on the defendant's immigration status. The defendant
nevertheless affirms that the defendant wants to plead guilty regardless of any
immigration consequences that may result from the defendant's guilty plea, even
if the consequence is the defendant’s automatic removal from the United States

following completion of the defendant's sentence.

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B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine
The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution to
any victim of the offenses, pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to
make restitution to any victim of the offenses, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant enters
a plea of guilty to such counts, and whether or not such counts are dismissed
pursuant to this agreement. The defendant further understands that compliance
with any restitution payment plan imposed by the Court in no way precludes the
United States from simultaneously pursuing other statutory remedies for
collecting restitution (18 U.S.C. § 3003(b)(2)), including, but not limited to,
garnishment and execution, pursuant to the Mandatory Victims Restitution Act, in
order to ensure that the defendant’s restitution obligation is satisfied.
On each count to which a plea of guilty is entered, the Court shall impose a
special assessment pursuant to 18 U.S.C. § 3013. The special assessment is
due on the date of sentencing. The defendant understands that this agreement
imposes no limitation as to fine.
2. Supervised Release
The defendant understands that the offenses to which the

defendant is pleading provide for imposition of a term of supervised release upon

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release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.
3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed from

the United States, denied citizenship, and denied admission to the United States

in the future.
4. Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant factual
information, including the totality of the defendant's criminal activities, if any, not
limited to the counts to which defendant pleads, to respond to comments made
by the defendant or defendant's counsel, and to correct any misstatements or
inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case,
subject to any limitations set forth herein, if any.
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United States

Attorney's Office within 30 days of execution of this agreement an affidavit

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reflecting the defendant's financial condition. The defendant promises that his
financial statement and disclosures will be complete, accurate and truthful and
will include all assets in which he has any interest or over which the defendant
exercises control, directly or indirectly, including those held by a spouse,
dependent, nominee or other third party. The defendant further agrees to
execute any documents requested by the United States needed to obtain from
any third parties any records of assets owned by the defendant, directly or
through a nominee, and, by the execution of this Plea Agreement, consents to
the release of the defendant's tax returns for the previous five years. The
defendant similarly agrees and authorizes the United States Attorney's Office to
provide to, and obtain from, the United States Probation Office, the financial
affidavit, any of the defendant's federal, state, and local tax returns, bank records
and any other financial information concerning the defendant, for the purpose of
making any recommendations to the Court and for collecting any assessments,
fines, restitution, or forfeiture ordered by the Court. The defendant expressly
authorizes the United States Attorney's Office to obtain current credit reports in
order to evaluate the defendant's ability to satisfy any financial obligation
imposed by the Court.
6. Sentencing Recommendations
It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement, or

defer a decision until it has had an opportunity to consider the presentence report

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prepared by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations
and present arguments to the Court, the sentence will be determined solely by
the Court, with the assistance of the United States Probation Office. Defendant
further understands and acknowledges that any discussions between defendant
or defendant's attorney and the attorney or other agents for the government
regarding any recommendations by the government are not binding on the Court
and that, should any recommendations be rejected, defendant will not be
permitted to withdraw defendant's plea pursuant to this plea agreement. The
government expressly reserves the right to support and defend any decision that
the Court may make with regard to the defendant's sentence, whether or not
such decision is consistent with the government's recommendations contained
herein.
7. Defendant's Waiver of Right to Appeal the Sentence
The defendant agrees that this Court has jurisdiction and authority
to impose any sentence up to the statutory maximum and expressly waives the
right to appeal defendant's sentence on any ground, including the ground that the
Court erred in determining the applicable guidelines range pursuant to the United
States Sentencing Guidelines, except (a) the ground that the sentence exceeds
the defendant's applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines; (b) the ground that the sentence

exceeds the statutory maximum penalty; or (c) the ground that the sentence

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violates the Eighth Amendment to the Constitution; provided, however, that if the
government exercises its right to appeal the sentence imposed, as authorized by
18 U.S.C. § 3742(b), then the defendant is released from his waiver and may
appeal the sentence as authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the Office of
the United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or
others, if requested.
9, Filing of Agreement
This agreement shall be presented to the Court, in open court or in
camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or
coercion of any kind. The defendant further acknowledges defendant's

understanding of the nature of the offense or offenses to which defendant is

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pleading guilty and the elements thereof, including the penalties provided by law,
and defendant's complete satisfaction with the representation and advice
received from defendant's undersigned counsel (if any). The defendant also
understands that defendant has the right to plead not guilty or to persist in that
plea if it has already been made, and that defendant has the right to be tried by a
jury with the assistance of counsel, the right to confront and cross-examine the
witnesses against defendant, the right against compulsory self-incrimination, and
the right to compulsory process for the attendance of witnesses to testify in
defendant's defense; but, by pleading guilty, defendant waives or gives up those
rights and there will be no trial. The defendant further understands that if
defendant pleads guilty, the Court may ask defendant questions about the
offense or offenses to which defendant pleaded, and if defendant answers those
questions under oath, on the record, and in the presence of counsel (if any),
defendant's answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will
be adjudicated guilty of the offenses to which defendant has pleaded and, if any
of such offenses are felonies, may thereby be deprived of certain rights, such as

the right to vote, to hold public office, to serve on a jury, or to have possession of

firearms.
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.

The defendant certifies that defendant does hereby admit that the facts set forth

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in the attached "Factual Basis," which is incorporated herein by reference, are
true, and were this case to go fo trial, the United States would be able to prove
those specific facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and
no other promises, agreements, or representations exist or have been made to
the defendant or defendant's attorney with regard to such guilty plea.
13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms

ae frligust Ye
DATED this day of Juty, 2014.

A. LEE BENTLEY, Ill
United States Attorney

Bx LB Ce cfu

JONATHAN TYLER PRIVE Andrew C. Searle
Defendant Assistant United States Attorney

rlos A. Peréz-Iridarry
Assistant United States Attorney
Chief, Orlando Division

 

 

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 6:14-cr-33-Orl-28KRS
JONATHAN TYLER PRIVE
FACTUAL BASIS'

Beginning on or about November 4, 2013, and continuing through and
including on or about November 5, 2013, in Brevard County, Florida, in the
Middle District of Florida, and elsewhere, the defendant, JONATHAN TYLER
PRIVE (“PRIVE’), used the internet, a facility and means of interstate commerce,
in an attempt to persuade, induce, entice, and coerce a three year old female
child (“the minor victim”) to engage in sexual activity for which any person could
be charged with a criminal offense under the laws of the State of Florida, that is,
Lewd or Lascivious Battery, a violation of Florida State Stat. § 800.04. The
minor victim is the daughter of another individual (“the other individual"), Ona
prior occasion in September of 2013, PRIVE and the other individual participated
in the sexual abuse of the minor victim at the other individual's home in Brevard
County. The actions of PRIVE and the other individual came to light as a result

of a joint investigation conducted by the Brevard County Sheriff's Office (“BCSO”)

 

' The factual basis is prepared by the United States and does not include all of the facts relevant
to the defendant's involvement in the crime to which the defendant is pleading guilty and other
illegal activities in which the defendant may have been involved.

? The other individual is currently charged with federai offenses under Middle District of Florida
Case No. 6:14-cr-34-ORL-28DAB.

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and the Cocoa Beach office of the Department of Homeland Security (‘DHS’),
Homeland Security Investigations (“HSI”), which is set forth, in part and
substance, below.
In September and October of 2013, an HSI Task Force Agent acting in an
undercover capacity (“the UC agent") conducted an investigation into the other
individual which revealed that the other individual was sexually abusing the minor
victim, producing child pornography images of the minor victim, and distributing
some of these child pornography images to others, via the internet. Agents
eventually identified the other individual's residence in Brevard County where
they ultimately arrested the other individual and executed a search warrant.
Agents also forensically examined the electronic devices seized from the other
individual's residence and gained access to his email accounts with his
permission. A review of the other individual's electronic devices and email
accounts revealed communication between the other individual and PRIVE,
using their respective email accounts, regarding their prior sexual abuse of the
minor victim as well as their plans to continue sexually abusing the minor victim
at a date in the future. Some of these emails are described, in substance and
part, below’:
On September 9, 2013, PRIVE asked the other individual: “can { see a pic

of your little one?” The other individual responded by sending PRIVE a

photograph of the minor victim with clothing on a child’s bike and stated: “YaaG

 

° The portions of the factual basis that are in quotation marks are direct quotes from these emails.
Any spelling or grammatical errors in quotation marks were contained in the emails themselves.

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rated on lol! Tell me what u would do in your fantasy. Thereafter, PRIVE sent the

other individual the following email:

PRIVE:

“In my fantasy I’d sit on the couch with a girl on

my lap and slide my fingers into her little panties and
finger her clit while we watched cartoons. Then I'd
undress her once she was wet and wiggling her hips
and sit with my cock between her thighs and rub it up
and down her little cunt while she held the tip. Then
when the cartoon was done I'd take her to the
bedroom to play. I'd have her lick and suck on the tip
while she laid on my chest and | played with her tight
little butt. I’d use a whole bunch of lube and play with
her ass until she was loose enough to slip my pinky
inside. Then I'd finger her while she held my cock and
played with it. Want to hear more? Tell me what new
Stuff you've with her in your fantasies and I'll go on.”

On September 10, 2013, the email exchange continued as follows:

The other individual:

PRIVE:

The other individual:
PRIVE:

PRIVE:

“Would luv to watch that. Tried using my pinky
to finger her and tried a vibrating toothbrush.”

“How did it work? How far did you get with it?

After fingering her for long enough to get her
nice and loose. I'd add another finger and
keep going while she laid on my stomach,
panting, and squirming. Then when she
couldn't take it anymore, I'd lay her on her back
and slide the head of my cock up and down her
little cunt, getting it all wet and slippery with pre
cum. I'd push the head tight against her little
cunt and shoot it inside her, filling her up.”

“lam so hard after that! Wow!”

“Glad you liked it. lol”

“you thinking of taking another shot at a getting
together?”

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The other individual: “Yes | am. | would really like to chat live about
our fantasies. Wife at work and kids r at
grandmas so they will not be here to bother us
or keep us from our fantasies. If u do cum over
you wont be sorry!”

PRIVE: “| wont be sorry? What did you have in mind?”

The other individual: “Was thinking we could fantasize and maybe jo
while we talk about what we like? Maybe trade
good porn you know. You would not be sorry if

u cum over!"
The other individual: “U would have fun 4 sure!”
PRIVE: “how long are your wife and the kids gone?”
The other individual: “Must be soon though cuz she wont be working
very late tonight. We r waiting 4 your
response.”
PRIVE: “you just said “we” are waiting. Who is “we’?”
The other individual: “Till about 8ish so if u came now + drive time
we could have about a solid hour to play at
least.”
The other individual: “Royal we. Remember neither of us want to do

anything in our fantasies for real right? So we
will fantasize another being here but no real
contact. But if u cum over u wont be sorry!”
After this PRIVE sent the other individual numerous emails requesting the
other individual’s address and the other individual eventually sent PRIVE his
address which was in Brevard County. PRIVE and the other individual then

exchanged emails agreeing to meet and provided each other with names.

PRIVE referred to himself as “John,” and the other individual referred to himself

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as “Mitch.”

On September 10, 2013, at 6:24 p.m., PRIVE sent the other individual an

email stating: “Okay mitch. 'm on my way.” — There were no further emails

between them until 8:04 p.m., when the following email exchange took place

The other individual:

PRIVE:

The other individual:

PRIVE:

The other individual:

The other individual:

PRIVE:

The other individual:

PRIVE:

“Hey John email me when u get home!”

“home now.”

“Man! That was so fucking hot watching u with
my daughter! Did u enjoy?”

“Hell yeah. | wish that we had more time
though. (and more lube too. Lol) Then we
could have tried some other things.”

“| wish we had more time too. Fri night maybe?
So what do u wanna do to her with lube?”

“Dude my dick is gonna be hard for a month
after seeing that! Especially when you came
all over my baby daughter fuck yeah! Use her!”

“Pd want to try doing what | told you about in
my story And | think we'd need to put down a
towel or something for the grand finale. You
saw how much | cum. lol”

“lL love how much u cum! She may resist and
cry so u may have to be ok with that but |
would luv to help u fuck her!”

“We'd be gentle of course, but yeah, it would
be okay. And you may want to think about your
boy some more. He seemed pretty smart, and
putting him in his room every time will make
him mad and ask questions or talk about how
you're being mean and sending him to his
room all the time. lol”

From September 11, 2013 through October 11, 2013 (the date agents

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arrested the other individual), PRIVE continued to discuss with the other
individual the following topics in emails: (1) PRIVE’s sexual abuse of the minor
victim from the date described above; (2) plans to meet at the other individual's
home when the other individual's wife was away; and (3) in graphic and
disturbing detail their plans to engage in sexual activity with the minor victim in
the their future meetings, including plans to penetrate the minor victim's vagina
and anus.

On October 11, 2013, before the agents arrested the other individual, the
other individual asked PRIVE to come over but PRIVE was unable to during the
time-frame when the other individual's wife was away from the home. The last

emails between PRIVE and the other individual before the other individual was

arrested are as follows:

PRIVE: “That really sucks. | cant get there by then and
still have enough time to help you finger her
and fill her with cum. Think maybe | could have
a couple naughty pics of her little holes spread
open for me?”

The other individual: “Wife came home and spoiled my fun :( After
that close call situation | don't send pics of
her anymore.”

After agents arrested the other individual and discovered the above-
mentioned emails between PRIVE and the other individual, the UC agent, posing
as the other individual, used the other individual’s email account to initiate online
communication with PRIVE. On November 4, 2013, the following email

exchange took place:

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Uc’:

PRIVE:

PRIVE:
UC:

PRIVE:

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PRIVE:

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“hey it’s playtime, you interested again?”

“Hey. Just got your message. What did you have in
mind?”

“Have you done anything new since last time?”

“not since you came over, that was hot. wife is in
school tomorrow.”

“oh yeah? What time does she leave and what do you
want to do this time?”

“Cool she leaves at about 9, up to you that was so hot
i couldn't stop thinking about last time. the baby girl
will be here too.”

“Is that 9 in the morning or at night?”

“in the morning.”

“I'd love to pop her cherry and put fingers in both her
holes before filling her little cunt with cum :)”

“that be so hot see that happen to my 3yo baby girl.
wife won't be home till like five, mmmmm.”

“Lots of time to play ;) What's your address again? |
cant find the message that had it in there.”

“you have to let me know when your coming wife will
kill me if she is here.”

“Id like to come at about 10:30 or 11, that way we
have plenty of time to play with your daughter and fill
her holes up with fingers and cum ;)

“so hot im in [at this point in the email exchange, the
UC agent provided PRIVE with the street and city in

“Where the UC agent is referenced in these email exchanges with PRIVE, the UC was
communicating with PRIVE using one of the other individual’s email accounts and pretending to

be the other individual.

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PRIVE:

UC:

PRIVE:
UC:

Brevard County where the other individual lived], can
you hit me up in the morning so i’ll know your
cumming like before.”

“Sounds good :) I'm looking forward to seeing how far
we can stretch her out and how much cum we can put
in her ;)

“mmmmm hot, hit me up in the morning and /’ll let you
know the wife is gone she should be home soon.”

“okay :)”

“talk to you then.”

On November 5, 2013, at approximately 9:16 a.m., the UC sent PRIVE an

email stating: “hey she just left, if you haven't changed her mind.” At 9:26 a.m.,

the UC corrected the prior email, sending one that stated: “your.” At

approximately 9:55 a.m., an HSI agent conducting surveillance at PRIVE’s

residence in Brevard County observed PRIVE exit his residence and walk to a

nearby McDonalds while carrying a small netbook computer and a cell phone.

PRIVE sat at a table outside the McDonalds, opened up the computer, and

Started typing. While HSI agents conducted surveillance of PRIVE typing on his

computer at the McDonalds, the UC agent had the following email exchange with

him:

PRIVE:

UC:

PRIVE:

“Yeah I'm still interested in coming over. What's the
address? And are you sure she wont be coming back
for lunch or anything?”

“no she brought her lunch great what time you going
to be here.”

“| can be there in about 45 minutes if you give the
address again. And do | need to bring some lube, or

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do you have some?”

UC: “for the baby girl yeah i’m about out. [at this point in
the email exchange, the UC agent provided PRIVE
with the other individual’s exact address in Brevard

County]
PRIVE: “okay. I'll be there at about 11:20.”
UC: “ok bro i’ll put her in the tub.”

After these emails, an HSI agent observed PRIVE close his computer and
return to his home with his computer and cell phone at 10:30 a.m. At
approximately 10:41 a.m., PRIVE exited his residence, got on his motorcycle,
and drove away. HSI agents in vehicles and the BCSO Air Unit followed PRIVE
as he drove to the street in Brevard County where the other individual's
residence was located. At approximately 11:30 a.m., BCSO Agents stopped
PRIVE on his motorcycle and later recovered from the saddle bag of the
motorcycle a packet of lubricant.

After PRIVE was stopped, the UC agent approached PRIVE and identified
himself as a law enforcement officer. The UC agent advised PRIVE of his
Miranda rights and PRIVE agreed to waive his rights and speak to law
enforcement. PRIVE also signed a Miranda rights waiver form. After PRIVE

agreed to speak, he was interviewed by agents. At the outset of the interview,
PRIVE admitted that he was the user of the email account that was in
communication with the other individual's email account regarding the sexual

abuse of the minor victim as set forth above. PRIVE eventually admitted to the

following in his interview with agents:

Defendant's Initials l- 25
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PRIVE met the other individual online after the other individual
responded to an online Craigslist advertisement PRIVE posted
regarding bondage and sadomasochistic (‘BDSM’) sexual interests.

PRIVE and the other individual exchanged emails regarding BDSM.

PRIVE went to the other individual’s home one time to continue their
conversations about BDSM.

The other individual's son and daughter (the minor victim) were at the
residence when PRIVE came over.

PRIVE and the other individual entered the other individual’s bedroom
with the minor victim while the other individual’s son remained in the
living room.

Once inside the bedroom, the other individual lifted the child’s dress,
rubbed the child between her legs, and “spread her open.”

Both PRIVE and the other individual removed their penises.
PRIVE rubbed his penis against the minor victim's vagina.

PRIVE also placed his penis into the child’s mouth and touched the
child’s vagina with his hand.

PRIVE ejaculated on the minor victim's stomach and the other
individual licked the semen off the victim.

At some point, the other individual rubbed his penis in the child’s
vagina.

After this, the other individual dressed the child in a white dress.

Regarding his intentions in travelling to the other individual's residence
in Brevard County on November 5, 2013, PRIVE admitted that he

planned to participate in the sexual abuse of the minor victim a second
time.

He used his netbook computer to communicate with the other
individual and that the computer was at his residence (later identified to
be an Acer Aspire laptop computer, serial number
LUS050B13384523F 592535).

Defendant's Initials gar 26
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After PRIVE made these and other statements to law enforcement, he
was arrested and agents executed a search warrant at his residence where they
seized several electronic devices, including a Kindle device labeled “Jon’s
Kindle.” A forensic examination of the Kindle device revealed that the following
material was contained on the device:

- Portions of the emails sent back and forth between PRIVE and the
other individual’s email account, including some of the emails on
November 4, 2013 when the UC was posing as the other individual.

~ Evidence that the computer had been used to connect to the wireless
service at the McDonalds where agents observed PRIVE
communicating with the UC.

- Recent search terms consistent with an interest in child pornography:
“pthc 4yo 5yo 6yo 7yo 8yo Yyo” while the user of the computer visited
the website “fileshut.com.”

~ Google map searches for the other individual's address in Brevard
County.

- Five videos of child pornography that had been deleted and were
located in the unallocated space on the computer.

Pursuant to a search warrant, agents also acquired email content records
from the service provider for the email account PRIVE used in the above-
described communications with the other individual and the UC. The email
content records from the service provider included above-described emails

between PRIVE and the other individual’s email address.

Defendant's Initials A 27

 
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

ORLANDO DIVISION
UNITED STATES OF AMERICA
vs Case Number: 6:14-cr-33-Orl-28KRS
JONATHAN TYLER PRIVE USM Number: 60386-018
Daniel Newton Brodersen, CJA
533 N. Magnolia Ave
Orlando, FL 32801

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count Two of the Indictment. Accordingly, the Court has adjudicated the defendant guilty
of the following offense:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 2422(b) Attempted Enticement of a Minor November 5, 2013 Two

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Count One of the Indictment is dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.

Date of Imposition of Sentence:

 

 

JOKN ANTOON II
ED STATES DISTRICT JUDGE

April_2 7, 2015

AO 2456 (Rev. 4/09) Judgment In a Criminal Case
2
Case 6:14-cr-00033-JA-KRS Document 98 Filed 04/27/15 Page 2 of 5 PagelD 415 2928
Jonathan Tyler Prive
6:14-cr-33-Orl-28KRS

IMPRISONMENT

The defendant is hereb

y committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 365 Months

The defendant is remanded to the custody of the United States Marshal.

RETURN

44 of 74

™, [have executed this judgment as follows:

Page

 

 

Defendant delivered on fo

Date Filed: 08/10/2015

2
o

, with a certified copy of this judgment.

 

UNITED STATES MARSHAL

Document: 25

By:

 

Deputy U.S. Marshal

USCA11 Case: 15-12032

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Jonathan Tyler Prive
6:14-cr-33-Orl-28KRS

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Life.
of release from custody shall spor 6 te probation Office in the district to which the defendant is released within 72 hours
The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The mandatory drug testing sequirements of the Violent Crime Control Act are waived. However, the Court orders
the defendant to submit to random drug testing not to exceed 104 tests per year.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the defendant
pay any such fine or restitution that remains unpaid at the commencement of the term of supervision in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer,

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation
officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4, The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any

person convicted of a felony, unless granted permission to do so by the probation officer;

AO 245B (Rev. 4/09) Judgment in a Criminal Case
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Jonathan Tyler Prive
6:14-cr-33-Orl-28KRS

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The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
such notifications and to confirm the defendant's compliance with such notification requirement.

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making
an obligation for any major purchases without approval of the probation officer. The defendant shall provide the
probation officer access to any requested financial information.

The defendant shall participate in a mental health program specializing in sex offender treatment and submit to
polygraph testing for treatment and monitoring purposes. The defendant shall follow the probation officer's
instructions regarding the implementation of this court directive. Further, the defendant shall contribute to the costs
of such treatment and/or polygraphs not to exceed an amount determined reasonable by the probation officer based
on ability to pay or availability of third party payment and in conformance with the Probation Office’s Sliding Scale
for Treatment Services.

The defendant shall register with the state sexual offender registration agency(s) in any state where he or she
resides, visits, is employed, carries on a vocation, or is a student, as directed by the probation officer. The probation
officer will provide state officials with all information required under Florida sexual predator and sexual offender
notification and registration statutes (F.S.943.0435) and/or the Sex Offender Registration and Notification Act (Title
| of the Adam Walsh Child Protection and Safety Act of 2006, Public Law 109-248), and may direct the defendant
to report to these agencies personally for required additional processing, such as photographing, fingerprinting, and
DNA collection.

The defendant shall have no direct contact with minors (under the age of 18) without the written approval of the
probation officer and shall refrain from entering into any area where children frequently congregate, including:
schools, daycare centers, theme parks, playgrounds, etc.

The defendant is prohibited from possessing, subscribing to, or viewing, any video, magazine, or literature depicting
children in the nude and/or in sexually explicit positions.

The defendant shall not possess or use a computer with access to any online service at any location (including
employment) without written approval from the probation officer. This includes access through any Internet service
provider, bulletin board system, or any public or private computer network system. The defendant shall permit
routine inspection of his or her computer system, hard drives, and other medial storage materials, to confirm
adherence to this condition. This inspection shall be no more intrusive than is necessary to ensure compliance with
this condition. The defendant shall inform his or her employer, or other third party who may be impacted by this
condition, of this computer-related restriction and the computer inspection provision of the condition.

The defendant shall submit fo a search of his or her person, residence, place of business, any storage units under
the defendant's control, computer, or vehicle, conducted by the United States Probation Officer at a reasonable
time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
condition of release. Failure to submit to a search may be grounds for revocation. The defendant shall inform any
other residents that the premises may be subject to a search pursuant to this condition.

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Jonathan Tyler Prive
6:14-cr-33-Orl-28KRS

8. The defendant shall cooperate in the collection of DNA, as directed by the probation officer.

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in the Schedule of Payments.

Total Assessment Total Fine Total Restitution
$100.00 $0.00 $0.00
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
The Special Assessment in the amount of $100.00 is due in full and immediately.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a pericd of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full

before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

Docket No. 6:14-cr-33-Orl1-28KRS

UNITED STATES OF AMERICA

Plaintiff : Orlando, Florida

Vv. : August 27, 2013
: 9:33 a.m.

JONATHAN TYLER PRIVE

Defendant

TRANSCRIPT OF CHANGE OF PLEA

BEFORE THE HONORABLE KARLA R. SPAULDING

UNITED STATES MAGISTRATE JUDGE

APPEARANCES:
For the Plaintiff: Andrew Searle
For the Defendant: Jose Rodriguez

Proceedings recorded by tape-recording, transcript produced

by computer-aided transcription.

 

 
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PROCEEDINGS

THE DEPUTY CLERK: Case number
6:14-CR-33~-Orl-28KRS, United States of America v. Jonathan
Tyler Prive.

Counsel, please state your appearances for the record.

MR. SEARLE: Good morning, Your Honor. For the
United States, Andrew Searle.

THE COURT: Good morning.

MR. RODRIGUEZ: Good morning. Jose Rodriguez on
behalf of Jonathan Prive seated to by left.

THE COURT: Good morning.

I understand Mr. Prive wishes to plead guilty to count
two of the indictment pursuant to a plea agreement?

MR. RODRIGUEZ: That's correct, Your Honor.

THE COURT: All right. Sir, I'm not the judge who
will sentence you if you plead guilty. I'm a magistrate
judge. I can conduct a guilty plea proceeding with your
permission. I have a document signed by you indicating that
you agree to let me do that. Is that right?

THE DEFENDANT: That's right, Your Honor.

THE COURT: What I'm going to do is have you
placed under oath and ask you some questions. The first
group of questions will be designed to make sure you
understand what the proceeding is about. Then I'll talk to

you about what the government would have to prove before you

 

 
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could be found guilty of the charge to which you wish to
plead guilty. We will go over the penalties you face and
the rights you lose if you plead guilty. I'11 also talk
about the promises in the plea agreement. At the end I'm
going to ask you about what you did to make sure your
conduct violates the crimes for which you wish to plead
guilty.

Because you will be under oath, if anything you tell me
is not completely truthful, you could be separately
prosecuted for perjury or making a false statement. And
anything you tell me here today could be used against you in
that prosecution. So if you do not understand something I
ask, please let me know. I'll try to ask it more clearly.

Your lawyer will be here throughout the proceeding.

You can speak to him privately at any time.

We make a record of what occurs through a digital
recording which is the reason for the microphones, so if
you'll continue to answer my questions out loud rather than
nodding or shaking your head, we'll capture your answers.

Do you have any questions before I go further?

THE DEFENDANT: Not at this time, Your Honor.

THE COURT: All right. You do not need to stand
but, raise your right hand; Mr. Jackson will place you under
oath.

(Defendant sworn)

 

 
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DEFENDANT:

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DEFENDANT:

COURT: Mr.

name?

DEFENDANT:
COURT: How
DEFENDANT:
COURT: How
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COURT: You
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COURT: Are
DEFENDANT:
COURT: The

re thinking

Please state your name for the

Jonathan Tyler Prive.

Prive,

No,
old are you,

26,

have you ever been known by

ma'am.
sir?

Your Honor.

far did you go in school?

Some college,

read,

Yes,

no finishing.

speak and understand

ma'am.

you a citizen of the United

Yes, I am.

next questions are the ones to

clearly today.

First, have you

ever been under the care of a psychiatrist or a

psychologist?
THE
THE

of any kind?

THE

DEFENDANT:

COURT:

DEFENDANT:

No,

No,

ma'am.

Are you concurrently taking medicine

I'm not.

 

 
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THE COURT: In the last two days have you had any
drugs, alcohol or medicine including anything over the
counter like aspirin?

THE DEFENDANT: No.

THE COURT: Is there anything interfering with
your ability to think clearly today?

THE DEFENDANT: No, ma'am.

THE COURT: All right. JI want to talk to you next
about the charge you propose to plead guilty to. First,
have you had a chance to review the whole indictment with
your attorney?

THE DEFENDANT: I have, Your Honor.

THE COURT: Count two alleges that beginning on or >
about November 4 of 2013 and continuing through and
including on or about November 5 of 2013, in Brevard County,
Florida, in the Middle District of Florida and elsewhere,
that you using a facility and means of interstate commerce,
that is the Internet and the cell phone, did knowingly
attempt to persuade, entice, and coerce an individual who
had not attained the age of 18 years to engage in sexual
activity for which any person could be charged with a
criminal offense under laws of the State of Florida, that is
lewd or lascivious molestation and conduct, violations of
section 800.04, Florida statutes, and sexual battery, a

violation of section 794.011, Florida statutes. That's

 

 
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violation of Title 18 United States Code section 2422(b).

Before you could be found guilty of that offense, the

l] United States would have to prove beyond a reasonable doubt

that you knowingly attempted to persuade, induce, entice or

coerce an individual to engage in sexual activity.
Knowingly means you did it voluntarily, no one forced

you to do it. They would have to prove that you used the

Internet or cell phone to do that. That when you did these

j acts the victim was less than 18 years old, and that one or

more of the individuals engaging in the sexual activity
could have been charged with a criminal offense under the
law of Florida.

You should know that the law in this circuit, the law
that governs this Court, says that the attempt to persuade,
induce, entice or coerce can be through what we call a
third-party intermediary, an adult who has some control over
the victim, doesn't have to be directly with the victim of
the offense. Do you agree with that, Mr. Rodriguez.

MR. RODRIGUEZ: Yes, that's the case law in this
circuit.

THE COURT: Do you understand what would have to
be proved before you could be found guilty of that charge?

THE DEFENDANT: Yes, I do.

THE COURT: You have the right to have the full

indictment read. I'm happy to read the rest of it to you or

 

 
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you could waive or give up the reading if you've already
been through it. Would you like me to read the rest of the
indictment for you?

THE DEFENDANT: At this time I waive that reading,
Your Honor.

THE COURT: All right. Thank you.

I just want to get these Florida statutes up so I can
reference them if I need to.

Have you had enough time to talk with your attorney
about the charges and the forfeiture allegation in the
indictment?

THE DEFENDANT: Yes, Your Honor, I have.

THE COURT: Are you satisfied with his services
representing you in this case?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Mr. Rodriguez, any question as to your
client's competency?

MR. RODRIGUEZ: No, Your Honor.

THE COURT: Any from the United States?

MR. SEARLE: No, Your Honor.

THE COURT: Mr. Prive, I find you are competent
which simply means able under the law to plead guilty if you
want to plead guilty, but you don't have to plead guilty.

I have a number of things I need to talk with you about

yet so if at any point you decide you do not want to plead

 

 
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guilty, let me know, I'll stop this proceeding and the case
will go on as previously scheduled.

The next thing I want to talk to you about is the
reason you're proposing to plead guilty.

First, has anyone done anything you think is wrong or
unfair, threatened you in any way to get you to plead guilty
to this charge?

THE DEFENDANT: No, Your Honor.

THE COURT: Do you want to plead guilty because
you committed the crime or for some other reason?

THE DEFENDANT: Because I committed the crime,
Your Honor.

THE COURT: T have a document entitled, "Plea
Agreement." I know you've seen it, but I'm going to ask
Mr. Jackson to hand it to you. I just want to make sure
that is your plea agreement, that you have initialed every
page and any changes and signed it at the end.

Is that your plea agreement, Mr. Prive?

THE DEFENDANT: Yes, Your Honor, it is.

THE COURT: Is that the plea agreement of the
United States?

MR. SEARLE: Yes, Your Honor.

THE COURT: None of the judges of the court helped
to write the plea agreement, so it will be up to Judge

Antoon, who's the judge who will sentence you, to decide

 

 
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whether or not to accept the terms of the plea agreement.

Did you read the plea agreement all the way through
before you signed it?

THE DEFENDANT: I did.

THE COURT: Did you talk to your lawyer about it
before you signed it?

THE DEFENDANT: I did.

THE COURT: Do you believe you understand the plea
agreement?

THE DEFENDANT: Yes, I do.

THE COURT: I'm not going to read the whole
document then, but I am going to go over the promises you
make to the United States and the promises the United States
makes to you.

When I'm done I'm going to ask you to think if there
are any other promises that didn't get written in the plea
agreement.

You agree to plead guilty to count two of the
indictment which is the attempted enticement of a minor to
engage in sexual activity that we talked about just a moment
ago. If you are convicted of that offense you face a
mandatory minimum term of 10 years in jail up to the rest of
your life in jail, a fine of up to $250,000, a term of
supervised release of at least five years up to the rest of

your life and you would be required to pay a special

 

 
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assessment of $100 at the time of sentencing.

In addition, the Court can order you to pay restitution
to the victim of the offense and you do under the plea
agreement agree to make full restitution to the minor
victim. That amount would be determined at the time of
sentencing.

You also agree that if the victim's losses are not
ascertainable before the sentencing that you wouldn't oppose
bifurcation or a two-part sentencing hearing where
punishment might be decided at a time different from the
amount of restitution would be determined.

At the time of sentencing the United States agrees to
dismiss the remaining counts which is count one against you.
And if the Court accepts the plea agreement the United
States Attorney's Office for the Middle District of Florida
agrees not to charge you with committing any other federal
crime known to that office at the time you signed the plea
agreement that relates to the conduct underlying the
indictment and the plea agreement.

Judge Antoon is going to look at something called the
sentencing guidelines to help to decide what sentence you
should receive in this case. He's required to look at the
guidelines. He's not required to impose a sentence within
the guideline range. However, on page 3 of the plea

agreement the United States indicates that it will recommend

 

 
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that you be sentenced within the applicable guideline range
as determined by the Court.

Then there are some recommendations about how the
guideline should be computed starting at the bottom of
page 3. It says, in the event there's no information
received suggesting this recommendation should not be made,
the United States will not oppose your request that you
receive a two level subtraction or downward adjustment in
the guidelines for acceptance of responsibility. And then
over on page 4 if your offense level under the guidelines
before that two level -- first two level reduction is 16 or
higher, and you otherwise qualify including complying with
all the provisions of the plea agreement, then the United
States agrees to file a motion to get you a third level
subtraction or downward adjustment for acceptance of
responsibility.

Whether you qualify for that third level adjustment is
a decision made by the United States Attorney's Office not
by the Court. So you agree if the U.S. attorney does not
file the motion for a third level reduction, you can't
challenge that decision in this court or any other court.
Also, those are just recommendations. So if the judge does
not accept them you could not withdraw your guilty plea for
that reason.

Bottom of page 4 and continuing, you agree to forfeit

 

 
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or give up to the United States money or property gained
during the offense or used during the offense. This
specifically includes an Acer Aspire laptop computer which
was used to facilitate the criminal activity charged in the
indictment.

No cell phone forfeiture here, Mr. Searle?

MR. SEARLE: No, Your Honor.

THE COURT: Okay. An argument could be made that
by taking property from you and then by sentencing you in
the case that that violates some laws and Constitutional
protections. Under the plea agreement you are agreeing that
you're not going to argue that the forfeiture violates any
of your laws or Constitutional rights.

Have you had a chance to talk to Mr. Rodriguez about
what you're giving up there?

THE DEFENDANT: I have, Your Honor.

THE COURT: Are those rights you're willing to
give up?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Bottom of page 7 and continuing, you
agree that the computer equipment that was seized from you
and is now in the custody of law enforcement was properly
seized and is subject to forfeiture and basically what that
means is you won't come back at a later point and argue that

the Acer Aspire laptop computer should not be seized and

 

 
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cannot be kept or destroyed by law enforcement.

Page 8 notifies you that if you are convicted of this
offense, then you will be required to comply with the Sex
Offender Registration and Notification Act which is a
federal law that we sometimes refer to as SORNA. It
requires that you register and keep your registration
current in the place where you live, the place where you
work, and if you're a student, the place where you are in
school.

Failure to keep -- to register and keep your
registration current could subject you to another felony
offense.

Turning over to the bottom of page 11 there's a section
of the plea agreement that talks about financial disclosure
that I want to review with you.

I told you in order to or at least as a prerequisite
for the United States Attorney's Office to file a motion to
get you to the third level subtraction for acceptance of
responsibility, you had to comply with all the requirements
of the plea agreement, but this is one of the specific
sections that they point out in that paragraph. Under the
section you agree to complete and submit to the United
States Attorney's Office within 30 days of signing the plea
agreement a truthful affidavit reflecting your financial

condition.

 

 
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You agree to sign any documents you're asked to sign so
that the U.S. Attorney's' office can get information from
third parties to determine what money or property you may
hold or they may hold on your behalf.

You agree to let the U.S. Attorney's' office obtain
your tax returns for the last five years, obtain a current
credit report for you, and you also agree that the United
States Attorney's Office and the U.S. Probation Office can
share that financial information for purposes of doing their
respective jobs.

Bottom of page 13, top of page 14, talks about your
right to appeal from a mistake in your sentence. And I want
to review that with you. First, let me tell you that if you
plead guilty you are admitting for ail time that you
committed the crime. You give up any defenses or excuses
you may have and you give up any motions your lawyer has
filed or you have talked with him about filing and you give
up your right to come back to that court or go to another
court later on and argue that you should not have been found
guilty.

The right to come back to this court or go to another
court is called the right to appeal. So if you plead guilty
you have no right to appeal from the finding that you are
guilty.

If you think the judge makes a mistake in the sentence

 

 
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you receive, though, you usually do have the right to appeal
from that to go to the next higher court and ask that court
to correct a mistake. Under the plea agreement you're
giving up some of your rights to take a direct appeal from
your sentence. You can only appeal if the sentence is above
the guideline range as determined by the court. If the
sentence 18 more than the maximum permitted by the law or if
the sentence violates the Eighth Amendment to the
Constitution, which is your protection against cruel and
unusual punishment, in addition, however, if the United
States appeals from your sentence, then you could appeal for
any reason.
Do you understand how that limits your right to appeal

from a mistake in your sentence?

THE DEFENDANT: Yes, I do.

THE COURT: And is that right you're willing to
give up?

THE DEFENDANT: Yes, that is.

THE COURT: The plea agreement tells you on
page 14 that it only binds the office of the United States
Attorney for the Middle District of Florida, not other
prosecutors, but the U.S. attorney agrees to bring your
cooperation, if any, to the attention of others if they're
asked to do that.

Those are all the promises written in the plea

 

 
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agreement. Do you believe that anyone has made you any
other promises about what sentence you will receive or
anything else that will occur in exchange for your plea of
guilty?

THE DEFENDANT: They have not said anything else,
Your Honor.

THE COURT: Mr. Rodriguez, anything in the nature
of plea negotiations that didn't get incorporated in this
document that you need to put on the record?

MR. RODRIGUEZ: No, not in terms of anything
negotiated, but still potentially cooperation going on but
other -- nothing that needs to be...

THE COURT: Is that correct, Mr. Searle?

MR. SEARLE: Yes, Your Honor.

THE COURT: Okay. Mr. Prive, we've talked a
little about the sentencing guidelines. Have you and your
attorney talked about how the guidelines might apply in this
case?

THE DEFENDANT: At length, Your Honor.

THE COURT: I can't tell you for sure what the
guideline range will be because I don't have all the
information I need to do that. If you plead guilty the
Court's probation office will conduct an investigation
(inaudible) what occurred here, your role in the offense,

whether you had any prior criminal history, whether you

 

 
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accepted responsibility, things like that and they'll
prepare a written report.

You and your attorney will receive a copy of the report
before sentencing, so will the attorney for the United
States. If there's anything in the report you think is not
correct, Mr. Rodriguez will make an objection. If the
objection is not worked out before the sentencing, then
Judge Antoon will hold a hearing. He will rule on the
objections. Only at the point the report is done and the
objections are ruled on will there be enough information to
know for sure what the sentencing guideline range is.

Mr. Rodriguez is a very experienced criminal defense
attorney. He's given you his best estimate of the guideline
range, but he can't know for sure until the report's done
and the objections are ruled on. So it's important for you
to understand that in the sentencing guideline range or the
sentence is something different than you expect it to be,
you would not be allowed to withdraw your guilty plea for
that reason.

I also want to caution you that if you find out what
the sentencing guideline range is for anyone else involved
in this offense or for others charged with similar crimes,
you can't assume you can calculate your own guideline based
upon what somebody else receives. They're very individual

determinations. Just by way of example, if two people did

 

 
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the very same thing but one of them had a more extensive
criminal history than the other, the person with the more
extensive criminal history is almost always going to have a
higher sentencing guideline. So that's a long way around of
saying you can't know for sure today what the sentencing
guideline range is and you wouldn't be allowed to withdraw
your guilty plea if it turns out to be different than what
you expect. Do you understand that?

THE DEFENDANT: I understand, Your Honor.

THE COURT: We don't have parole in the federal
prison system any more. That used to be kind of an early
release program. Now if you're sentenced to a term in jail
you will serve almost all if not all of any term of
imprisonment imposed.

I mentioned supervised release as part of a possible
sentence. That's time you serve under the supervision of
the court's probation office after getting out of jail.
There will be things you had to do and things you could not
do as part of your supervised release. If you violated a
condition of supervised release your supervised release
could be taken away. You could be sent back to jail to
serve the term of supervised release, some or all of it, ‘in
addition to the time you served on the original sentence.

In addition, the Court could require you to contribute

financially to the cost of your supervision if you had the

 

 
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money to do that.

You should know that in sexual offender cases at the
end of any criminal term of imprisonment there is sometimes
an evaluation to determine whether the defendant would be a
danger to the community if released. If it was determined
that you would be a danger to the community if released,
then there may be subsequent civil commitment proceedings
that follow.

We already talked about SORNA registration.

You'll also be required to cooperate in the collection
of a DNA sample if that becomes required under the law.

Mr. Searle, any penalty applicable to Mr. Prive that
I've overlooked?

MR. SEARLE: No, Your Honor.

THE COURT: All right. Can you think of any,

Mr. Rodriguez?

MR. RODRIGUEZ: No, Your Honor.

THE COURT: Mr. Prive, do you understand all the
possible penalties that apply if you plead guilty to this
charge?

THE DEFENDANT: I understand, Your Honor.

THE COURT: I need to tell you next about the
rights you give up by pleading guilty. You do have the
right to a trial before a jury composed of 12 people.

During the trial you would be presumed to be innocent. The

 

 
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United States would have to prove that you were guilty
beyond a reasonable doubt. You wouldn't have to prove
anything.

During the trial the witnesses would have to come into
court and testify in front of you. Your lawyer could ask
them questions and he could ask the judge to keep out all or
parts of anything the witnesses said and all or parts of any
other evidence offered against you.

You would also have the right to require witnesses and
evidence to be brought into Court and be presented to the
jury on your behalf.

During the trial you could testify, talk to the jury
under oath if you wanted to, but you would have the right
not to testify. Neither the judge nor the jury could decide
you did anything wrong based on your decision not to
testify. That's your right against self-incrimination. It
gives the absolute right to remain silent.

If you plead guilty and the district judge accepts your
plea, do you understand there will be no trial, you will
give up all these rights I've talked about including your
right to remain silent and the judge will find you guilty
based upon your guilty plea.

THE DEFENDANT: I understand, Your Honor.
THE COURT: This is a felony offense, so if you

are convicted you will lose your civil rights. Those

 

 
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include but not are not limited to the right to vote, to
keep and bear firearms, to hold public office and to serve
on a jury.

There is a right you do not give up by pleading guilty
and that's the right to have a lawyer represent you in this
case.

If you decide to go to trial, Mr. Rodriguez is going to
represent you all the way through the trial and at every
other part of the case.

If you decide to plead guilty, he's going to represent
you all the way through the sentencing.

If you think the judge makes a mistake in the sentence
you receive and you want to appeal it, the Court would
appoint an attorney to represent you at no cost to you for
the direct appeal if you couldn't afford to hire one,
remembering though there are some limits on the right to
appeal in the plea agreement.

I've talked about many things. Have you had any -- do
you have any questions about anything I have talked about?

THE DEFENDANT: Not at this time, Your Honor.

THE COURT: Any questions about anything in the
plea agreement that I didn't go over that you would like me
to review?

THE DEFENDANT: I don't have anything, Your Honor.

THE COURT: All right. Tell me what it is that

 

 
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you did that makes you guilty of the charge in count two.

THE DEFENDANT: On or about the dates of
November 4th and November 5th of 2013 I used the Internet to
communicate with an individual in an attempt to arrange a
sexual encounter with an individual who had not attained the
age of 18 years and doing so violated the law that I'm being
accused of.

THE COURT: What is it that you were trying to --
what kind of sexual activity were you trying to arrange? It
has to be such that it would constitute lewd or lascivious
conduct or sexual battery under the Florida statutes.

THE DEFENDANT: My attempt was to arrange an
activity with a minor including touching of the genitalia
and the vagina.

THE COURT: Some of the state statutes use
different ages for the victim. How old was the victim?

THE DEFENDANT: Under the age of 12, Your Honor.

THE COURT: How old was the victim?

THE DEFENDANT: Three years old, Your Honor.

THE COURT: Factual basis from the -- well, first
anybody force you to do that?

THE DEFENDANT: No, Your Honor.

THE COURT: You did it voluntarily?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Factual basis from the United States?

 

 
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MR. SEARLE: Your Honor, in this case the United
States would be able to prove beyond a reasonable doubt the
factual basis that's attached to the plea agreement, pages
17 through 27, specifically on or about the dates of
November 4, 2013, continuing through and including on or
about November 5th, 2013, in Brevard County, Florida, in the
Middle District of Florida and elsewhere that the defendant
used the Internet to communicate with an individual who he
believed to be the father of the minor victim in this case
and in those communications he arranged to meet the child
and engage in illegal sexual contact -- conduct with the
child. He actually went to the location where the child was
living -- where the child resided and brought lubricant with
him which was recovered from him when he arrived at that
location and from their proceeded to make a lengthy
confession to the events.

THE COURT: And some of the contact with the
person the defendant believed to be the father of the minor
victim was done via computer over the Internet?

MR. SEARLE: That is correct, Your Honor.

THE COURT: All right. Mr. Prive, starting on
page 17 and continuing through page 27 of the plea
agreement, there is a statement of the facts the United
States says it could prove were the case to go to trial. I

need to know whether these facts are true.

 

 
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THE DEFENDANT: Yes, Your Honor, the facts
presented on those pages are true.

THE COURT: All right. Well, I find based on what
you tell me and the facts the United States says it could
prove, that the facts are sufficient to allow you to plead
guilty if you still want to do that.

I told you when we started you did not have to plead
guilty. Now we are getting close to the time where I'm
going to ask you what you'd like to do.

First, though, is there anything you want to tell me or
ask me about your decision to plead guilty that we have not
talked about?

THE DEFENDANT: No, Your Honor.

THE COURT: Is there anything you told me under
oath that you would like to change because you think it
might not have been completely truthful?

THE DEFENDANT: No, Your Honor.

THE COURT: Have you had any problem hearing or
understanding me?

THE DEFENDANT: None, Your Honor.

THE COURT: Has my coughing fit interfered with
your ability to hear or understand during that part where I
was coughing?

THE DEFENDANT: No, Your Honor.

THE COURT: All right. Do you want to talk to

 

 
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your attorney further before I ask you how you would like to
plead?

THE DEFENDANT: No, Your Honor.

THE COURT: Does the representative victim wish to
be heard today?

MR. SEARLE: Not today, Your Honor.

THE COURT: All right. All right.

Mr. Prive, how do you plead to the charge in count two
of the indictment?

THE DEFENDANT: The charge of count two I plead
guilty.

THE COURT: Are you freely and voluntarily
J entering this plea of guilty?

THE DEFENDANT: I am, Your Honor.

THE COURT: I determine that the this plea of
guilty is knowingly, intelligently and voluntarily made and
it's not the result of force or threats or promises except
for the promises contained in the plea agreement.

I will recommend that Judge Antoon accept both your
guilty plea and the plea agreement.

Sentencing will be at least 75 days from today usually
because that's how long it takes to do the presentence
investigation. I don't have the date for you but
Mr. Rodriguez will let you know when it's set and he'll

explain the presentence process to you.

 

 

 

 
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What else can we take care of today for the United
states?
MR. SEARLE: Nothing further, Your Honor. Thank
you.
THE COURT: For defense?
MR. RODRIGUEZ: Nothing further.
THE COURT: Thank you very much.
We're in recess.
CERTIFICATE
I certify that the foregoing is a correct
transcript from the record of proceedings in the

above-entitled matter.

s\Sandra K. Tremel, RMR,CRR September 22, 2014

Federal Official Court Reporter

 

 
 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing appendix

was furnished electronically via CM/ECF to Linda Julin McNamara, Assistant U.S.

Attorney, and by United States Mail to Jonathan Tyler Prive, #603 86-018, Brevard

County Jail Complex, 860 Camp Road, Cocoa, Florida 32927 on this 10" day of

August, 2015.

/s/ Daniel N. Brodersen
Attorney
